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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION

 IN RE: 3M COMBAT ARMS                      Case No. 3:19md2885
 EARPLUG PRODUCTS
 LIABILITY LITIGATION
                                            Judge M. Casey Rodgers
 This Document Relates to All Cases         Magistrate Judge Gary R. Jones


                    CASE MANAGEMENT ORDER NO. 35

       The Twenty-Second Case Management Conference (CMC) in this matter was

held on February 16, 2022. This Order serves as a non-exhaustive recitation of the

key points of discussion during the conference.

I.     Wave Orders

       The Court discussed the timeline of the Wave discovery process. Wave Order

#1, ECF No. 2304, was entered on November 22, 2021; Wave Order #2 was entered

on February 22, 2022; and Wave Order #3 will be entered in May 2022. Each order

identifies 500 cases for Wave discovery. Dispositive motions for cases included in

Wave Order #1 are due in July 2022.

       The parties have been working diligently to resolve discovery disputes that

arise in the Wave cases with the assistance of Judge Herndon, however, there have

been scheduling and logistical challenges related to Defense Medical Exams
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(“DMEs”) and depositions.1 As of February 16, 2022, 32 DMEs had been conducted,

146 had been scheduled, another 171 plaintiffs had been offered dates for their DME,

and approximately 30 plaintiffs had failed to respond. Defendants are to provide

Plaintiffs’ counsel with the names of those 30 plaintiffs. As for plaintiff depositions,

308 have been conducted, 135 are scheduled for February, and 22 are scheduled for

March.

        The Court also cautioned that it will be monitoring the number of cases

dismissed, if any, during the Wave process based on the pattern of dismissals in the

bellwether cases. While most bellwether cases did reach trial, eight of them—

representing roughly 29% of the bellwether cases—were dismissed either before or

during discovery. If that pattern of dismissals holds across the litigation,

approximately 80,400 cases could be dismissed before or during discovery.

Depending on what happens in the first few Waves, the Court may consider entering

an order requiring a threshold level of proof before a case can be selected for future

Wave orders.

II.     Transition Orders

        The Court entered Transition Orders in August 2021, September 2021, and

January 2022, requiring nearly 50,000 cases to transition from the administrative



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         On February 18, 2022, the Court appointed Adriane Theis as Special Master of the Wave
process, in part, to oversee the scheduling of DMEs and depositions.
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docket to the active docket. See ECF Nos. 1876, 1915, 2652. Approximately 84% of

cases that were included in Transition Orders #1 and #2 have transitioned to the

active docket, and the remaining 16% of cases were either dismissed or were not

transitioned. The Court will enter an order dismissing the cases of those plaintiffs

who failed to transition to the active docket.

         As of February 14, 2022, 16% of the cases included in Transition Order #3

had transitioned to the active docket. This percentage will likely increase as the cases

continue to transition in accordance with the order. The Court will enter Transition

Order #4 in early March requiring another approximately 25,000 cases to transition

from the administrative docket to the active docket. As of February 15, 2022, there

were 42,337 cases on the active docket and 234,905 cases on the administrative

docket.

         The parties are to confer and provide the Court with a list of cases that

transitioned to Minnesota state court instead of federal court due to the lack of

diversity between the parties.

III.     Census Forms, DD214 Forms, and DOEHRS Data

         The Court expressed concern regarding the 55,119 plaintiffs who have yet to

submit a Census Form despite a Court order requiring it. See ECF No. 1848. Given

that Census Forms are required to facilitate discovery, the Court will enter an order

requiring plaintiffs who have failed to timely submit their Census Forms to provide
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them by a certain date. The Court will dismiss the cases of plaintiffs who fail to

comply.

      Additionally, approximately 248,742 plaintiffs have not submitted a DD214

form. The Court will coordinate with BrownGreer PLC to determine how many of

these plaintiffs are veterans and how many DD214 forms may have been uploaded

as part of a larger file. The Court also intends to speak with the Department of

Defense (“DoD”) about the process by which a plaintiff can most easily obtain his

or her DD214, and based on that discussion, the Court will enter an order requiring

all plaintiffs who are veterans to submit their DD214 forms by a date certain.

      With the assistance of Judge Herndon, the parties have been coordinating with

the DoD to obtain plaintiffs’ DOEHRS data. Plaintiffs’ counsel and BrownGreer

PLC provided the requisite information for 241,000 service members to the DoD in

early February. There is no timeline yet for when the DoD will produce the

DOEHRS data, but once received, Plaintiffs’ counsel will work with BrownGreer

PLC to ensure that the information is transferred into MDL Centrality.

      SO ORDERED, on this 23rd day of February, 2022.




                                M. CASEY RODGERS
                                UNITED STATES DISTRICT JUDGE
